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                                                                                    FILED
                                                                        United States Court of Appeals
                           UNITED STATES COURT OF APPEALS                       Tenth Circuit

                                  FOR THE TENTH CIRCUIT                     December 23, 2021
                              _________________________________
                                                                           Christopher M. Wolpert
                                                                               Clerk of Court
 KEVIN O'ROURKE; NATHANIEL L.
 CARTER; LORI CUTUNILLI; LARRY D.
 COOK; ALVIN CRISWELL; KESHA
 CRENSHAW; NEIL YARBROUGH;
 AMIE TRAPP,

        Plaintiffs,
                                                               No. 21-1394
 v.                                                  (D.C. No. 1:20-CV-03747-NRN)
                                                                (D. Colo.)
 DOMINION VOTING SYSTEMS, INC., a
 Delaware corporation; FACEBOOK, INC.,
 a Delaware corporation; CENTER FOR
 TECH AND CIVIC LIFE; GRETCHEN
 WHITMER, individually; JOCELYN
 BENSON, individually; TOM WOLF,
 individually; KATHY BOOCKVAR,
 individually,

        Defendants - Appellees,

 and

 MARK E. ZUCKERBERG, individually;
 PRISCILLA CHAN, individually; BRIAN
 KEMP, individually; BRAD
 RAFFENSPERGER, individually; TONY
 EVERS, individually; ANN S. JACOBS,
 individually; MARK L. THOMSEN,
 individually; MARGE BOSTELMAN,
 individually; JULIE M. GLANCEY,
 individually; DEAN KNUDSON,
 individually; ROBERT F. SPINDELL, JR.,
 individually; DOES 1-10,000,

        Defendants.

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 GARY D. FIELDER; ERNEST J.
 WALKER,

       Attorneys - Appellants.
                        _________________________________

                                       ORDER
                          _________________________________

        This matter is before the court on Appellant’s Response and Memorandum to

 Order of December 8, 2021, which requests voluntary dismissal of this appeal after

 having filed a new notice of appeal in the District of Colorado challenging its final order

 specifying the amount of the sanction award against Plaintiffs’ counsel.

        Upon consideration, the court construes the response as a motion to voluntarily

 dismiss and grants the motion as construed. See 10th Cir. R. 27.5(A)(9) and Fed. R. App.

 P. Rule 42(b).

        A copy of this order shall stand as and for the mandate of the court.


                                               Entered for the Court
                                               CHRISTOPHER M. WOLPERT, Clerk



                                               By: Olenka M. George
                                                   Counsel to the Clerk




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